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     Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. CR.S-08-543-GEB-GGH
                                        )
12                    Plaintiff,        )   APPLICATION AND ORDER ALLOWING
                                        )   DEFENDANT PANG LEAVE TO JOIN IN
13        v.                            )   DNA TESTING BRIEFING FILED BY THE
                                        )   OFFICE OF THE FEDERAL DEFENDER
14   ZHEN SHU PANG,                     )   AND FOR STAY OF DNA TESTING AS A
                                        )   CONDITION OF PRETRIAL RELEASE
15                    Defendant.        )   PENDING DECISION THEREON
                                        )
16                                      )
17
18
19        Defendant, ZHEN SHU PANG, by and through her attorney, hereby
20   applies to this Court for a stay of the DNA testing requirement which
21   was imposed as a special condition of her pretrial release and requests
22   leave to join in the DNA testing briefing filed in other pending cases
23   by the Office of the Federal Defender.
24        The defendant’s motion for bail review was heard by Magistrate
25   Judge Gregory G. Hollows on January 16, 2009.        The defendant was
26   thereupon ordered released on bond secured by real property and
27   standard and special conditions of release imposed.         Special condition
28   of release number 5, states: “You shall submit to DNA testing as


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 1   directed by the United States Attorneys Office.”         Said condition was
 2   imposed without adequate notice to the defendant or to her counsel.
 3        The issue of the legality of imposing DNA testing as a condition
 4   of pretrial release is presently pending before this Court in the
 5   matters of United States v. Rowdy Adams, No. 09-MJ-024-GGH and United
 6   States v. Jerry Arbert Pool, No. CR.S-09-015-EJG-GGH, and upon
 7   extensive and largely identical briefing filed in both cases by
 8   Assistant Federal Defender Rachelle Barbour. A combined responsive
 9   brief is presently due filed by the United States in the Pool case on
10   March 13, 2009.
11        Rather than again submit identical briefing on an identical issue
12   in this case, and with the goal of minimizing time to be expended by
13   this Court and CJA appointed counsel, defendant Zhen Shu Pang
14   accordingly requests:
15        (1) That this Court grant her leave to adopt and join in all
16   briefs filed and to be filed in the Adams and Pool cases by the Office
17   of the Federal Defender concerning the legality of DNA testing as a
18   condition of pretrial release, as if filed by her independently under
19   this case number;
20        (2) That defendant Pang agrees that this Court’s ruling on DNA
21   testing as a condition of pretrial release in the above matters will
22   apply equally to this case and shall be published and filed in this
23   case; and
24        (3) That the DNA testing condition of defendant Pang’s pretrial
25   release be stayed until this Court’s decision in Adams and Pool.
26                                         ///
27                                         ///
28                                         ///


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 1   Dated:    March 5, 2009                         Respectfully submitted,
 2
 3                                                    /s/ Candace A. Fry
                                                     CANDACE A. FRY, Attorney for
 4                                                   ZHEN SHU PANG, Defendant
 5
 6                                        O R D E R
 7       IT IS SO ORDERED.
 8
 9                     Dated: March 20, 2009
10
                                           /s/ Gregory G. Hollows
11
                                         GREGORY G. HOLLOWS
12                                       UNITED STATES MAGISTRATE JUDGE
     pang543.ord
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